     Case 2:21-cr-00236-JAD-EJY Document 19 Filed 11/03/21 Page 1 of 1




 1                                UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                  ***
 4    UNITED STATES OF AMERICA,                                Case No. 2:21-cr-00236-JAD-EJY
 5                   Plaintiff,
                                                                            ORDER
 6          v.
 7    HENRIETTA BINFORD,
 8                   Defendant.
 9

10          Pending before the Court is the Motion to Withdraw as Counsel of Record. ECF No. 17.
11   Privately retained counsel states in his Motion that Defendant is not financially capable of paying
12   attorney’s fees. No response to the Motion was filed. The Court subsequently received Defendant’s
13   Financial Affidavit, which is filed under seal. The Court finds that Defendant establishes she is not
14   financially capable of retaining counsel on her own behalf. The Court further finds that Defendant’s
15   present counsel establishes withdrawal is appropriate in this case.
16          Accordingly, IT IS HEREBY ORDERED that the Motion to Withdraw as Counsel of Record
17   (ECF No. 17) is GRANTED.
18          IT IS FURTHER ORDERED that counsel be appointed for Defendant at the public’s
19   expense.
20          IT IS FURTHER ORDERED that this case is referred to the Federal Public Defender’s
21   Office so that CJA or an assistant FPD may be appointed for Defendant.
22          Dated this 3rd day of November, 2021.
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                                                   ELAYNA J. YOUCHAH
25                                                 UNITED STATES MAGISTRATE JUDGE
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